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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

  SOLUTEX, N.A. LLC,
                                                    Case No. 3:20-cv-00800-MMH-JBT
       Plaintiff/Counterclaim Defendant,                         Patent Case
               v.                                           Jury Trial Demanded
  DESIGNS FOR HEALTH, INC.,
  INNOVA SOFTGEL, LLC, d/b/a KD
  NUTRA, and K.D. PHARMA
  BEXBACH, LLC,

       Defendants/Counterclaim-Plaintiffs.

         DECLARATION OF MARK THOMAS SMITH IN SUPPORT OF
              PLAINTIFF SOLUTEX, N.A. LLC’S MOTION TO
         STRIKE LATE-DISCLOSED WITNESS PETER LEMBKE, Ph.D.

          I, Mark Thomas Smith, hereby declare and state as follows:

                1. My name is Mark Thomas Smith. I am an attorney with the law firm

 of Perkins Coie LLP and am counsel of record for Plaintiff Solutex, N.A. LLC

 (“Solutex”) in this action. The statements in this declaration are based on my own

 personal knowledge. I am providing this declaration in support of Plaintiff Solutex,

 N.A. LLC’s Motion to Strike the Late-Disclose Witness Peter Lembke, Ph.D.

                2. Attached hereto as Exhibit 1 is a true and correct copy of KD-

 INN00015838-15839, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.



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               3. Attached hereto as Exhibit 2 is a true and correct copy of KD-

 INN00027455-27459, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               4. Attached hereto as Exhibit 3 is a true and correct copy of KD-

 INN00028112-28115, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               5. Attached hereto as Exhibit 4 is a true and correct copy of KD-

 INN00016800-16801, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               6. Attached hereto as Exhibit 5 is a true and correct copy of KD-

 INN00017148-17160, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis

               7. Attached hereto as Exhibit 6 is a true and correct copy of K.D.

 Pharma Bexbach L.L.C.’s Rule 26(a)(1) Initial Disclosures served on or about June

 1, 2021.

               8. Attached hereto as Exhibit 7 is a true and correct copy of Designs for

 Health, Inc.’s and Innova Softgel, LLC’s First Supplemental Rule 26(a)(1) Initial

 Disclosures served on or about June 1, 2021.




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               9. Attached hereto as Exhibit 8 is a true and correct copy of Designs for

 Health, Inc.’s and Innova Softgel, LLC’s Rule 26(a)(1) Initial Disclosures served

 on or about October 30, 2020.

               10. Attached hereto as Exhibit 9 is a true and correct copy of an email I

 sent to Defendants’ counsel on November 4, 2021. Yellow highlighting has been

 added for emphasis.

               11. Attached hereto as Exhibit 10 is a true and correct copy of KD-

 INN00027812, which was produced by Defendants in this case.

               12. Attached hereto as Exhibit 11 is a true and correct copy of KD-

 INN00030799-30802, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               13. Attached hereto as Exhibit 12 is a true and correct copy of an email I

 sent to Defendants’ counsel on February 14, 2022. Yellow highlighting has been

 added for emphasis.

               14. Attached hereto as Exhibit 13 is a true and correct copy of an email

 from Defendants’ counsel on March 25, 2022.

               15. Attached hereto as Exhibit 14 is a true and correct copy of K.D.

 Pharma Bexbach L.L.C.’s First Supplemental Rule 26(a)(1) Initial Disclosures

 served on or about March 25, 2022.



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               16. Attached hereto as Exhibit 15 is a true and correct copy of excerpts

 from the deposition of Roberto Fronzoni taken April 6, 2022. ellow highlighting

 has been added for emphasis.

               17. Attached hereto as Exhibit 16 is a true and correct copy of an email I

 sent to Defendants’ counsel on March 26, 2022.

               18. Attached hereto as Exhibit 17 is a true and correct copy of an email

 from Defendants’ counsel on April 19, 2022.

               19. Attached hereto as Exhibit 18 is a true and correct copy of KD-

 INN00034666-34667, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               20. Attached hereto as Exhibit 19 is a true and correct copy of KD-

 INN00035564-35569, which was produced by Defendants in this case. Yellow

 highlighting has been added for emphasis.

               21. Attached hereto as Exhibit 20 is a true and correct copy of an email

 from Defendants’ counsel on April 27, 2022.

               22. Attached hereto as Exhibit 21 is a true and correct copy of KD

 Pharma Bexbach LLC’s Objections and Responses to Solutex, N.A. LLC’s First

 Set of Requests for Production (Nos. 1-54), served by KD Pharma on October 20,

 2021. Yellow highlighting has been added for emphasis.



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               23. Attached hereto as Exhibit 22 is a true and correct copy of an email

 from Defendants’ counsel on March 24, 2022.



          I declare under penalty of perjury under the laws of the United States that

 the foregoing is true and correct.

          Executed on April 28, 2022, in Chicago, Illinois.


                                            /s/ Mark Thomas Smith________________
                                            Mark Thomas Smith




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